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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
STATE OF CONNECTICUT, MOHEGAN                )
TRIBE OF INDIANS OF CONNECTICUT,             )
and MASHANTUCKET PEQUOT TRIBE                )
                                             )
                     Plaintiffs,             )
                                             )
                     v.                      )               No. 1:17-cv-02564-RC
                                             )
DAVID BERNHARDT, in his official capacity    )
As Acting Secretary of the Interior, and the )
UNITED STATES DEPARTMENT OF THE              )
INTERIOR,                                    )
                                             )
                     Defendants,             )
                                             )
and                                          )
                                             )
MGM RESORTS GLOBAL                           )
DEVELOPMENT, LLC,                            )
                                             )
                     Intervenor-Defendant .  )
                                             )

                         NOTICE OF VOLUNTARY DISMISSAL

       Plaintiffs the Mashantucket Pequot Tribe and the State of Connecticut respectfully

provide notice to the Court of the voluntary dismissal of this action pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i) against Federal Defendants, David Bernhardt, in his official capacity as Acting

Secretary of the Interior, and the Department of Interior and Intervenor-Defendant, MGM

Resorts Global Development, LLC.


Dated: March 25, 2019                         Respectfully submitted,

                                              KILPATRICK TOWNSEND &
                                              STOCKTON LLP

                                              /s/ Keith M. Harper
                                              Keith M. Harper, Bar No. 451956
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                           KHarper@kilpatricktownsend.com
                           Catherine F. Munson, Bar No. 985717
                           cmunson@kilpatricktownsend.com
                           607 14th Street, N.W., Suite 900
                           Washington, D.C. 20005
                           Telephone: 202-508-5800
                           Facsimile: 202-508-5858

                           Mark H. Reeves
                           mreeves@kilpatricktownsend.com
                           Enterprise Mill
                           1450 Greene Street, Suite 230
                           Augusta, GA 30901
                           Telephone: 706-823-4206
                           Facsimile: 706-828-4488

                           Attorneys for Plaintiff
                           Mashantucket Pequot Tribe


                           STATE OF CONNECTICUT

                           /s/ Mark. F. Kohler
                           Mark F. Kohler
                           Assistant Attorney General
                           Mark.Kohler@ct.gov
                           Michael K. Skold
                           Assistant Attorney General
                           Michael.Skold@ct.gov
                           Connecticut Office of the Attorney General
                           55 Elm Street, P.O. Box 120
                           Hartford, CT 06141-0120
                           Telephone: 860-808-5020
                           Facsimile: 860-808-5347

                           Attorneys for Plaintiff
                           The State of Connecticut

                           JEAN E. WILLIAMS
                           Deputy Assistant Attorney General
                           Environment & Natural Resources Division

                           /s/ Devon Lehman McCune
                           Devon Lehman McCune
                           Senior Attorney
                           devon.mccune@usdoj.gov
                           U.S. Department of Justice


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                           Environment & Natural Resources Division
                           Natural Resources Section
                           999 18th St., South Terrace, Suite 370
                           Denver, CO 80202
                           Telephone: (303) 844-1487
                           Facsimile: (303) 844-1350

                           Counsel for David Bernhardt, in his official
                           capacity as Secretary of the Interior, and the
                           Department of Interior




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2019, I electronically filed the foregoing Stipulation

of Dismissal with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.


                                                   /s/ Keith M. Harper
                                                   Keith M. Harper, Bar No. 451956
                                                   KHarper@kilpatricktownsend.com
                                                   KILPATRICK TOWNSEND &
                                                   STOCKTON LLP
                                                   607 14th Street, N.W., Suite 900
                                                   Washington, D.C. 20005
                                                   Telephone: (202) 508-5800




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